AO 91 (Rev. I Ill 1) Criminal Complaint


                                      UNITED STATES DISTRICT COURT                                                     FlLEO
                                                                   for the
                                                                                                           2111 AUG 12 PH 2: t.1
                                                           District of Vermont

                  United States of America                            )
                                 V.                                   )
                                                                      )      Case No.
                       GEORGE CASEY
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                            Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        July 5, 2020               in the county of            Chittenden            in the

_ _ _ _ _ _ District of _ _ _V-=-er_m-'o:.:..n:.:..t___ , the defendant(s) violated:

             Code Section                                                       Offense Description
 18 U.S.C. 2251(a)                                 Use of a minor for the purpose of producing a visual depiction of the minor
                                                   engaged in sexually explicit conduct, which was produced using materials
                                                   that had been shipped/transported in interstate/foreign commerce

 18 USC 2252(a)(4)(B)                              Knowingly possessed visual depictions that were produced using materials
                                                   that had been shipped or transported in interstate and foreign commerce, the
                                                   production of such visual depictions involved the use of a minor engaging in
                                                   sexually explicit conduct and such visual depiction is of such conduct

          This criminal complaint is based on these facts:

 See Attached Affidavit




          ~ Continued on the attached sheet.                                             /


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                                                                                                Complainant's signature

                                                                                      Michael McCullagh, HSI Special Agent
                                                                                                 Printed name and title

 Sworn to before me and signed in my presence.


 Date:             08/12/2021
                                                                                                   Judge's signature

 City and state:                          Burlington, Vermont                       Hon. Kevin J. Doyle, U.S. Magistrate Judge
                                                                                                 Printed name and title
